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terms of the Protective Order, and such expert, advisor or consultant shall execute
a copy of the Confidentiality Agreement in the form of Exhibit A. A copy of cach
such undertaking shall be forwarded to the other parties at the end of the
Proceeding or at the time the identity of the expert, advisor or consultant is
disclosed. If any expert, advisor or consultant is called to testify, a copy of such |
person's undertaking will be provided to the other party no Jater than that time;
(d) In-house counsel for 2 party who is required to work directly on this Proceeding,
with disclosure only to the extent necessary to perform such work and with the restriction
that in house counsel may not hare the documents or information with his or her client;
and
(e) Any person of whom testimony is taken, if the Attorneys’ Eyes Only
Information was produced by the party with which the witness is employed,
except that such person may only be shown copies of Attorneys’ Eyes Only
information during his or her testimony, and may not retain any Attorneys’ Eyes
~ Only Information after his or her testimony and further provided that such witness

is given a copy of the Protective Order, is advised that he or she is subject to its
terms and conditions and acknowledges the terms thereof by the execution of the
Confidentiality Agreement in the form of Exhibit A. A copy of such _
Confidentiality Agreement shall be furnished to the other parties at the end of the
Proceeding or the time the identity of the fact witness is disclosed. In the case of
actual testimony, the witness shall acknowledge on the record that he or she has

read the Stipulated Protective Order and will abide by its terms.

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8. Nothing in this Protective Order shall preclude any party to this Proceeding or
their attorneys from disclosing or using, in any manner or for any purpose, any information or
documents from the party's own files which the party itself has designated as Confidential or
Attorneys’ Eyes Only.

9. All Qualified Persons who have received Confidential and/or Attorneys! Eyes
Only Information pursuant hereto shall safeguard such information so as to prevent its disclosure
to persons who are not Qualified Persons entitled to see such Confidential and/or Attorneys’ Eyes
Only Information.

10. Subject to the Civil Rules and Rules of Evidence, documents containing
Confidential and/or Attomeys' Eyes Only Information may be offered into evidence in the
Proceeding or as part of any hearing related thereto, only on the following conditions:

(a)  Useas an Exhibit at Thal. Prior to using any Confidential or Attomeys'

Eyes Only information as an exhibit at trial, the attorneys for both parties will

meet and confer regarding those documents that will be marked for identification

as exhibits by the parties. The parties will raise concems with the sealing of

particular exhibits during the pre-trial conference with the Court, in compliance

with L. R. 7.4, and the Court will make the ultimate determination of whether a

particular document should be submitted under seal at trial The party who made

the confidential designation shall bear the ultimate burden to show that the’

document is actually confidential regardless of who actually identified the

document as an exhibit at trial.

(b) Use in Any Other Filing. In the event that any party intends to use a

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document designated as Confidential or Attorney's Eyes Only in any Court filing

or pleading, including as an exhibit to a declaration in support of a dispositive

motion, then prior to filing the document, the party offering the document will file

the document under seal and file a motion for leave to rely on a sealed document

pursuant to L.R. 7.4. The filing of a motion under this section is not intended to

be and shall not be deemed to be an admission by the moving party that a

document is confidential; rather, the party who made the confidential designation

shall bear the ultimate burden to show that the document is actually confidential,

and the moving party is not barred from objecting to the designation.

ll. Any party to the Proceeding to whom Confidential and/or Attomeys' Eyes Only
Information is produced or disclosed mey Object to the Confidential and/or Attorneys’ Eyes Only
_ designation. The objection shall be made in writing to counsel for the designating party (the
Notice"). The Notice shall have attached a copy of such designated material or shall identify
each subject document by production number and shall (a) state that the receiving party objects to
the designation and (b) set forth the particular reasons for such objection. Counsel shall confer in
good faith in an effort to resolve any dispute concerning such designation. If the objection
cannot be resolved by agreement within ten (10) calendar days of the date of service of the
objection, the objecting party may move to remove the Confidential and/or Attomeys’ Eyes Only .
designation. All material whose designation is so objected to shall continue to be treated as
Confidential and/or Attorneys’ Eyes Only Information until there is a ruling to the contrary.

12. Further, any party may move for an order that Confidential or Attorneys’ Eyes

Only Information offered in evidence be received under conditions to prevent its disclosure to

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persons or entities not entitled under this Protective Order to have access to it.

13. All Confidential and/or Attorneys' Eyes Only Information and all copies thereof
shall be destroyed, and certified to the producing party as having been destroyed, or resummed to
counsel for the producing party within sixty (60) days after the final conclusion of the
Proceeding.

-{4 After the termination of this Proceeding, this Protective Order shall continue to
be binding upon the parties hereto, and upon all persons to whom Confidential and/or Attomeys!
Eyes Only Information has been disclosed or communicated.

15. The inadvertent production of any discovery material shall be without prejudice
to any claim that such material is privileged and/or protected from discovery as work product,
and the producing party shall not be held to have waived any such claim by inadvertent
production, provided that the producing party promptly advises the other parties of its position
and identifies the documents to which the assertion is claimed. Al! inadvertently produced
material as to which a claim of privilege is asserted and any copies thereof shall be returned
promptly.

16. If Confidential and/or Attorneys' Eyes Only Information is disclosed to any person
other than in the manner authorized by this Protective Order, the person responsible for the
disclosure shall immediately bring all pertinent facts relating to such disclosure to the attention of |
counsel for all parties, without prejudice to other rights and remedies of any party, and shall
make every effort to prevent further disclosure by it or by the person who was the recipient of
such information.

17. Any notice required or permitted herein shall be made to the parties’ counsels or

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record. Notice may be by telephone with facsimile confirmation or other such means 80 as to
provide timely notice as appropriate.
18. Nothing herein shall prevent the parties from seeking an order from the Court
further restricting the use or access to information. .
19. Each of the parties hereto shall be entitled to seek modification of this Protective

Order for good cause shown by application to the Court on reasonable notice to the other parties .

hereto.
Dated this Arcos of August, 2008,
i {1g 2
oe ( ioc 25
Honorable Do: Molloy
United States Diktrict Judge
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T717 Main Stret
Suite 2800
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Andr .
February 28, 2011 Deseo

F 214-939-5849 .
andrew.russell@klgates.com

VIA FACSIMILE AND CMRRR
Samuel T. Bull

FOSTER PEPPER PLLC

1111 Third Avenue, Suite 4300 _
Seattle, WA 98101

Re: L£ducation Logistics, Inc., et al. v. Laidlaw Transit, Inc.
Dear Mr. Bull:

I represent Tyler Technologies, Inc. (“Tyler Technologies”). Pursuant to Federal
Rule of Civil Procedure 45, Tyler Technologies serves the following responses and
objections to Education Logistics, Inc. et al.’s (“Plaintiffs”) Subpoena to Produce
Documents, Information, or Objects in a Civil Action (the “Subpoena”) as follows:

GLOBAL OBJECTIONS

1. Tyler Technologies objects to the Subpoena as it calls for production at a location
greater than 100 miles from where the subpoena was served. Additionally, documents
potentially responsive to the Subpoena are not within 100 miles of the location of service or
the specified location of production.

2. Tyler Technologies objects to the contents and requirements of Plaintiffs’ Instructions
and Definitions as contained in the Subpoena, to the extent they are overly broad and impose
burdens upon Tyler Technologies that exceed the scope of the Federal Rules of Civil
Procedure (the “Rules”), and to the extent that they ascribe meanings to words beyond or
different from their ordinary and commonly understood meanings. Tyler Technologies does
not agree to be bound by any of the requirements of Plaintiffs’ Definitions or Instructions
that exceed, among other things, the ordinary and commonly understood meanings of words
or terms, the Rules, the Federal Rules of Civil Evidence, and/or relevant case law, as
applicable.

3. Tyler Technologies objects to the Subpoena to the extent it asks for information or
documents already in Plaintiffs’ possession, custody or control, equally available to the
Plaintiffs and/or in the public domain, or otherwise obtainable from some other source that is
more convenient, less burdensome or less expensive, or for which the burden of expense of
the discovery outweighs its likely benefit.

EXHIBIT

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4, Tyler Technologies objects to the Subpoena because the discovery sought therein is
irrelevant to the current dispute between Plaintiffs and Defendants and not reasonably
calculated to lead to the discovery of admissible evidence. The Subpoena is overbroad in
light of the issues and questions of law before the court with regard to Plaintiffs’ complaint.

 §, Tyler Technologies objects to the Subpoena to the extent the discovery sought therein
seeks the production of information protected by the attomey client at privilege, work product
doctrine or other applicable privilege against discovery.

6. Tyler Technologies objects to the Subpoena to the extent it causes an undue burden
on Tyler Technologies to comply with the subpoena without reimbursement by Plaintiffs of
Tyler Technologies’ costs and expenses.

7. The foregoing objections are specifically incorporated into each of Tyler
Technologies’ Responses below.

RESPONSES AND OBJECTIONS TO REQUESTS FOR PRODUCTION

1. All contracts entered into between VersaTrans and Laidlaw including without
limitation all drafts of same, and all copies with any hand-written notes thereon.

_ RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are confidential, proprietary or trade secret information. Tyler
Technologies objects to: the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence.

Tyler further objects as Plaintiffs should seek this information from parties to the

case. Indeed, it is Tyler Technologies’ understanding that Plaintiffs are currently © ”

seeking this information from Laidlaw, but Laidlaw has objected to the discovery.
Tyler Technologies, as a non-party to this proceeding, should not be forced to
produce documents or incur fees and costs associated’ with this discovery until
Plaintiffs, Laidlaw and the Court have resolved these discovery issues between the
parties to the litigation.

Tyler Technologies will not produce documents in response to this request.

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2. All documents, including but not limited to, correspondence, letters, memos,
emails, faxes, and hand-delivered notes, exchanges between Laidlaw and any
employee or former employee of VersaTrans related to the purchase, provision,
installation, or promotion of bus routing software, including those circumstances
in which routing software was discussed as part of the larger package.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and .
information that are confidential, proprietary or trade secret information. Tyler
Technologies objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence.

Tyler further objects as Plaintiffs should seek this information from parties to the
case. Indeed, it is Tyler Technologies’ understanding that Plaintiffs are currently
seeking this information from Laidlaw, but Laidlaw has objected to the discovery.
Tyler Technologies, as a non-party to this proceeding, ‘should not be forced to
produce documents or incur fees and costs associated with this discovery until
Plaintiffs, Laidlaw and the Court have resolved these discovery issues between the
parties to the litigation.

Tyler Technologies will not produce documents in response to this request.

3. All documents, including, but not limited to, correspondence, letters, memos,
emails, faxes, and hand-delivered notes, exchanged between VersaTrans and any
third-party related to the promotion by Laidlaw of VersaTrans services and
products. . .

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are confidential, proprietary or trade secret information. Tyler
Technologies objects to the request as overly broad and unduly burdensome.

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Tyler further objects as Plaintiffs should seek this information from parties to the
case. Indeed, it is Tyler Technologies’ understanding that Plaintiffs are currently
seeking this information from Laidlaw, but Laidlaw has objected to the discovery.
Tyler Technologies, as a non-party to this proceeding, should not be forced to
produce documents or incur fees and costs associated with this discovery until
Plaintiffs, Laidlaw and the Court have resolved these discovery issues between the
parties to the litigation.

Tyler Technologies will not produce documents in response to this request.

_ All sales and/or promotional material provided by VersaTrans to Laidlaw

related, even in part, to bus routing software.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are confidential, proprietary or trade secret information. Tyler
Technologies objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence.

Tyler further objects as Plaintiffs should seek this information from parties to the
case. Indeed, it is Tyler Technologies’ understanding that Plaintiffs are currently
seeking this information from Laidlaw, but Laidlaw has objected to the discovery.
Tyler Technologies, as a non-party to this. proceeding, should not be forced to
produce documents or incur fees and costs associated with this discovery until
Plaintiffs, Laidlaw and the Court have resolved these discovery issues between the
parties to the litigation.

Tyler Technologies will not produce documents in response to this request.
All documents reflecting the number of request for proposals that VersaTrans

received from school districts or school bus contractors (such as Laidlaw) to.
which VersaTrans responded in each year from 2003 to present.

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RESPONSE:

Tyler Technologies objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous.

Tyler Technologies will not produce documents in response to this request.

6. All documents reflecting the number of request for proposals received from
school districts or school bus contractors (such as Laidlaw) to which VersaTrans
responded in each year from 2003 to present.

RESPONSE:

Tyler Technologies objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous.

Tyler Technologies will not produce documents in response to this request.

7. All VersaTrans responses to requests for proposals received from school districts
or school bus contractors (such as Laidlaw) from 2003 to present.

RESPONSE:

Tyler Technologies objects to the request to the extent it ‘seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous.

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Tyler Technologies will not produce documents in response to this request.

8. All documents reflecting revenue received. by VersaTrans relating to the sale of
routing software from initial sales to school districts in each year since 1987, or
since VersaTrans’s inception, if VersaTrans was not then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

Tyler Technologies will not produce documents in response to this request.

9. All documents reflecting revenue received by VersaTrans from annual licensing
and/or maintenance fees relating to routing software from each school district in
each year since 1987, or since VersaTrans’s inception, if VersaTrans was not.
then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product. privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

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Tyler Technologies will not produce documents in response to this request.

10. All documents reflecting VersaTrans’s aggregate sales of routing software in
each year since 1987, or since VersaTrans’s inception, if. VersaTrans was not
then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

Tyler Technologies will not produce documents in response to this request.

11. All documents reflecting the number of salespeople in VersaTrans’s sales force
in each year since 1987, or since VersaTrans’s inception, if VersaTrans was not
then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges.. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

Tyler Technologies will not produce documents in response to this request.

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12. All documents reflecting VersaTrans’s market and sales promotion budget in
each year since 1987, or since VersaTrans’s inception, if VersaTrans was not
then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler
Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. . Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

Tyler Technologies will not produce documents in response to this request.

13. All documents reflecting the number of sales calls made by VersaTrans on
school districts in each year since 1987, or since VersaTrans’s inception, if
VersaTrans was not then in business.

RESPONSE:

Tyler Technologies objects to the extent the request requires disclosure of
information protected by the attorney client or work product privileges. Tyler

~ Technologies further objects to the request to the extent it seeks documents and
information that are Tyler Technologies’ trade secret information or other
confidential research, development, or commercial information. Tyler Technologies
further objects to the request as overly broad and unduly burdensome. Tyler
Technologies objects to the request as being irrelevant and not reasonably calculated
to lead to the discovery of admissible evidence. Tyler Technologies objects to the
request as vague and ambiguous. Tyler Technologies also objects to the request as
harassing and vexatious.

Tyler Technologies will not produce documents in response to this request.

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February 28, 2011
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Andrew B. Russell

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_ In The Matter Of: |
Education Logistics, Inc., et al. v.
Laidlaw Transit, Inc.

Sean O'Halloran
Vol. I
April 22, 2009
CV 07-06-M-DWM

Martin-Lake & Associates, Inc.
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EXHIBIT

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Laidlaw Transit, Inc. April 22, 2009
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2 carace LOGISTICS; 5 18.5 2 WITNESS PAGE
3 sates BRAKGEh . 3 SEAN O'HALLORAN
4 4 Wxamination by Nr. Bull... eee cc cece sere ereeece 64
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6 ve. 6 Sedpulations.....ccscecccccecccseeseceeceseees 83
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9 Defendant. 9 KXHIBITS: . WARKED:
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12 Taken at 111 Nor it biggies avenue, o Suite 600 12
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Page 81 Page 83
a APPEARANCES 1 STIPULATIONS
2 ROMALD A. BENDER, eaq en Thane P.C., 600 2 :
3 We Aes » P.O. Box EF rai ssoula, Montana
4 of Foster, Pepper & 3 It was stipulated by and between counsel
5 dese: cet va Pun, “oath on apes 1, eters aKeenue, | 4 for the respective parties that the deposition be
‘; ‘the Plaintiffs. | 5 taken by Julie M. Lake, RDR, CRR, CSR, Freelance
; 2a Bee, usq., of the Crowley Law aw Fire, 6 Court Reporter and Notary Public for the State of
1 ooo “Be: PUR, Gite 308. 7 Montana, residing in Missoula, Montana.
8 appear on beheid of the Defendants. | 2
9 ALSO PRESENT: Bill Swendsen 9 It was further stipulated and agreed by
10 10 and between counsel for the respective parties
a1 11 that the deposition be taken in accordance with
12 12 the Federal Rules of Civil Procedure.
13 13
14 14 It was further stipulated and agreed by
15 15 and between counsel for the respective parties and
16 16 the witness that the reading and signing of the
17 17 deposition would be expressly reserved.
18 18
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21 21
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vin Seviged? Martin-Lake & Associates, Inc. (1) Page 80 - Page 83

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Laidlaw Transit, Inc. . : April 22, 2009
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1 WEDNESDAY, APRIL 22, 2009 1 under the perpetual license, and one type of
2 Thereupon, 2 access was remote access. Do you recall that?
3 SEAN O'HALLORAN, 3 A. Yes. .
4 having been sworn to tell the truth, testified as 4 Q. And I believe you previously testified
5 follows: s that some school districts receive remote access
6 EXAMINATION 6 to Edulog software in a read-only capability, is
7 BY MR. BULL: 7 that correct?
8  Q. Mr. O'Halloran, as you recall, I'm Sam a A. That is correct.
9 Bull. I'm an attorney for Education Logistics and 9  Q. In those instances is the school district
10 Logistics Management. 10 connecting to the Edulog software remotely?
11 Our session today is a continuation of a 110A. Yes.
12 previous deposition we had with you last month. 12 Q. And is that software located on a Laidlaw
13 And I know you know the drill, but just to make 13 server?
14 sure that we're all on the same page, I'm just 1a COA. Yes, it is.
15 going to reiterate some of the considerations when [15 Q. Andif, for example, Laidlaw upgrades its
16 we're doing the deposition. Okay? 16 version of the software, if a new version of the
17. A. Okay. 17 Edulog routing software comes out, is the school
1s Q. Remember we want to make sure that we 1s district also getting access to that upgraded
19 don't talk over each other; so when I ask a 19 version of the software?
20 question, you should make sure you let me finish |20 A. Yes, they are.
21 andI'm going to do my best to let you finish your [21 ~ Q. So any time--with respect to remote __
22 answers. 22 access, any time that Laidlaw upgrades the version
23 If counsel for Laidlaw objects, you 23 of the Edulog routing software that's running, the
24 should let her finish her objection and then after 24 school district is receiving access to that
2s she's finished her objection, you still need to 25 upgraded version?
09:03:01-09:04:36 Page 85 | 06:06:12-09:07:02 Page 87
1 answer the question to the best you can. If you 1 A. That is correct.
2 don't understand the question, please let me know 2 QQ. I believe that you also previously
3 and I will try to make it more understandable. 3 testified with respect to a different type of what
4 Does that sound good? 4 Laidlaw referred to as look-up access in which a
5s <A. Yes. 5 school district receives a copy of the Edulog
6 QQ. Is there any reason why you aren't able 6 routing software on the school district's computer
7 to testify fully and truthfully today? 7 and then receives hand-delivered copies of data
a A. No, there isn't. s from time to time; is that correct?
9 Q. Are you familiar with Edulog’s boundary 9 A. That is correct.
10 planning software? 10 ©Q._ And that's something that's often
11 A. Yes, Tam. . 11 referred to as the Sneaker Net?
12 Q. Are you also familiar with Edulog's 12 «6A. Correct.
13 boundary optimization software? 13. Q. Whena school district is receiving
14 6A. «Yes, Lam. 14 access through the Sneaker Net, when Laidlaw
15  Q. Is boundary planning software, is that an 15 receives upgrades of Edulog's routing software,
16 independent product from Edulog's routing 1s does the school district also receive upgrades of
17 software? 17 that routing software?
ies A. Yes, itis. It's a separate module. 18 A. Yes. In order for their access to
‘119 = Q. Whena school district has Edulog's 19 continue they have to upgrade. The prior versions
20 boundary planning software, do they necessarily 20 are not compatible.
21. also have to have Edulog's routing software? 21 Q. In those circumstances does someone from
22 A. No, they do not. 22 Laidlaw take over a new version and load it on to
23 Q. Inyour previous deposition we talked 23 the school district's computer?
24 somewhat about different levels of access that 2a0=(COAY Yes. .
25 Laidlaw provides to its school district clients 25  Q. Based upon your knowledge, about how
Grek -Mowige Martin-Lake & Associates, Inc. (2) Page 84 - Page 87

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Education Logistics, Inc., et al. v. CV 07-06-M-DWM Sean O'Halloran - Vol. Il

Laidlaw Transit, Inc. April 22, 2009

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often does Edulog come out with a new version of Allentown still have access to Edulog software?

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its routing software?

A. Usually once a year.

Q. I would like to talk about some specific
school districts. Do you have any knowledge with
respect to whether the school district in the
Algiers section of New Orleans has ever had access
to Edulog software provided by Laidlaw?

A. I don't believe they have.

Q. Do you recall ever discussing that with
the Algiers—the school district that is in
Algiers, New Orleans?

A. I've not discussed it directly with the
school district. Our rep, Jennifer Keith, was the
one who did all the direct communication with the

‘contract manager and the customer.

Q. And it's your understanding that it was
never set up?
A. It was discussed but it was never set up. .
Q.. How do you know it was never set up?
A. I guess I can't say it was never set
up—well, Jennifer Keith would have had to had my

wansanawaund

10

A. Yes, they do.

Q. Who is the user at the school district in
Allentown?

A. [cannot remember her name.

Q. Do you know if Barrington, Rhode Island
School District has ever had access to Edulog
routing software?

A. I'm not sure. The Rhode Island sites I
was very minimally involved with.

Q. Who would be the best person to talk to
about that? :

A. Don Cameron.

Q. Do you have any knowledge as to whether
or not the Rhode Island sites had access to Edulog
routing software?

A. Idon't-~I don't know. Most of those
were converted to another product when I first
started working with Laidlaw.

Q. Was that Versatrans? ~

A. Yes.

Q. About how many of Laidiaw's—to the

23 assistance to do it and she never asked me for it. 23 extent that you know, about how many of Laidlaw’s
24 Q. Andso since Jennifer never asked you to 24 school district customers use some form of routing
25 help her set up the look-up access, it's your 25 software or another?
09:09:20-09:10:25 Page 89 |09:12:09-09:13:19 Page 91
1 understanding that no access had been set up? 1 MS. DAVENPORT: Objection, calls for
2 A. That's my understanding. 2 speculation.
3 Q. Do you know if the Allentown School 3 A. Last number, I want to say maybe,
4 District in Pennsylvania ever had access to Edulog | 4 ballpark, 150. |
5 ‘routing software? 5 Q. (ByMr. Bull) And what's the basis for
6 A. Yes, they did. 6 that knowledge?
7  Q. What access did they have? 7 A. Just lists I've compiled for Scott Parker
a A. They had the remote access where they 8 throughout the two years that I worked for him,
9 connected to a server at the Laidlaw office. 9 and that’s usually the number that I came up with.
10 Q. When did Allentown first get access? f . en or
11. =A. It would have been 2005. 11 Scott Parker, you usually came up with 150 school
12. Q. Do you know who set the access up? 12 districts used one routing software or another?
13. A. That would have been Jay Makela, and he 13. A. One or another.
14 probably had some assistance from Don Cameron} {14 Q. How many of those 150 are Edulog, use
1s Q. Did Allentown get full access to the 15 Edulog? .
16 software? 1s. A. [want to say 75 or 80.
17. +A. No, they didn't. 17. Q. And are most of those school districts,
1s QQ. What is your understanding of the access 1s is the use through Laidlaw’s perpetual license?
19 that Allentown received? 19 <A. Most of them, yes.
20 A. That, using the Edulog security module, 20 Q. Would you say over half?
21 they were set up with read-only access. 21 A. Yes, over half.
22 Q. Would this have been on Edulog.NT? 22 Q. After Edulog, what is the second
23. A. Yes. That's the only flavor of Edulog 23 most-used sormwmare? -
24 that they have ever had. 24~—C COA. Veersatrans.
25 Q. To the best of your knowledge, does as Q. About how many of the Laidlaw customers
cEhny- those igetties Martin-Lake & Associates, Inc. (3) Page 88-Page9i

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use Versatrans routing software?

A. Well, 150 minus 75. 75, I guess.

Q. (By Mr. Bull) And you said 75 to 80 for
6 Edulog, so—but you think it's about half and
7 half?
s A. About half and half. There's a couple
9 one offs there, but mostly it's about half and
10 half, M a few more E
11 Q. Does Laidlaw have a policy for
12 determining what routing software to use ata
13 school district?
1a A. No. It's usually the preference of the
15 actual location.
16 Q. When you say preference of the actual

1
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3 speculation.
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MS. DAVENPORT: Objection. Calls w\

worwauns vw NP

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17 location, are you talking about the Laidlaw branch | 17

Education Logistics, Inc., et al. v. CV 07-06-M-DWM Sean O'Halloran - Vol. Il
Laidlaw Transit, Inc. April 22, 2009

09:13:33-09:14:45 Page 92 | 09:16:18-08:17:32 Page 94
ee

would term Sneaker Net and it was managed as you
had originally asked a few minutes ago. And then
their server was replaced with a server capable of
allowing remote access. And it's my understanding
that the customer is set up with that remote
access and the Sneaker Net version was uninstalled
from their system at the school district.

Q. When did Battleground first get Sneaker
Net?

A. [want to say 2001. They were one of our
first Edulog.NT implementations.

Q. And do you know when they got remote
access?

A. I wantto say that's around 2005.

Q. And when Battleground had Sneaker Net,
would they have been able to manipulate the data
they received by disk?

2 Does the Laidlaw branch usually suggest to the
3 school district we think you should use, for

4 example, Versatrans on this project?

s A. Yes.

6 Q. Do you know if school districts usually

8 to what software to use?
9 A. Generally, yes. And also sometimes the

Q. And just so I'm making sure I understand.

7 take the advice of the Laidlaw branch with respect

wanwtnuwne WW ee

18 location? 1s A. They might have initially, but once

19 —A.«_ It's usually a determination made by the 19 Edulog--the version of Edulog that allowed control
20 contract manager and the regional operations 20 of the levels of access as far as read-only or

21 manager and higher up, but we don't-we never 21 full access, once that-I cannot remember what

22 really steered them in one direction. We just 22 version that was, but once that version was set up
23 gave them all their options and they made their 23 we made sure that that was enabled such that they
24 decision. Usually they had their decision made a4 had read-only access.

25 even before they contacted us. 2s Q. So that would be even when the school
09:14:57-09:15:59 Page 93 | 09:1 7:42-09:18:57 Page 95

district only had access to old data, you would
still~your testimony is that you would still set _
it up so they could read-only?

A. That's correct. And every time their .

‘ data was refreshed, even if somebody had managed

to hack the system, it's all stored in the data
and got overwritten anyway.
Q. What is the--your basis for the assertion
you just made that even with Sneaker Net Laidlaw

10 school district gives their preference and the 10 would configure the software in such a way to

11 contract manager or the local management will 1 allow read-only access?

42 abide ry their request. 2 A. That was a directive that I made to the

13 ‘S DAVENPORT: Sam, you are not trying (13 support staff and the implementers.

14 to go into the best efforts issue, are you? as Q. Was thata directive you made in writing?
15 MR. BULL: I'm not. I'm just trying to 1s A. No.

16 get alittle background and I'm going to go back 1s Q. Are you aware that Sparta, Wisconsin

17 to the school districts. 17 still has Sneaker Net access to Edulog routing

18 MS. DAVENPORT: All right. 1s software?

19 Q. (ByMr. Bull) Do you know if 19 A. I believe they do. I'm not sure.

20 Battleground, Washington-—the school district for [20 Q. And are you aware that, according to the

21 Battleground in Washington has ever had access to |21 Sparta School District administrator who testified
22 Edulog routing software? 22 in this matter, that she is able to manipulate the
23. =A. Yes, they have. 23 old data using the Edulog routing software on her
24 Q. What do you know about that access? 24 computer?

2s A. Initially they were set up as what we 25 A. I'mnot aware of that.

agya dt Sorgen Martin-Lake & Associates, Inc. (4) Page 92 - Page 95

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Attomeys for Plaintiffs Education Logistics, Inc.,

IN ‘THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
EDUCATION LOGISTICS, INC., 2 Montana
‘oni and LOGISTICS MANAGEMENT, - Canse No. CV-07-06-M-DWM
INC., a Washington corporation,
Plaintiffs,
a _| DECLARATION OF CRAIG GRIFFITHS
' . . IN SUPPORT OF PLAINTICES' BRIEF IN
- LAIDLAW TRANSIT, INC., a Delaware OPPOSITION TO DEFENDANT'S
corporation, MOTION FOR PROTECTIVE ORDER
Defendant,
EXHIBIT

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CRAIG GRIFFITHS declares as follows:

J, Taman implementation manager for Education Logistics, Ine, (7Edulog”).
Tam over the age of 18 and am otherwise able to give testimony in this matter.

2. Prior to my employment with Edulog, I was previously employed by
Laidlaw Transit, Ino. (“Laidlaw”) as an implementation manager at Laidlaw Planning
Solutions (“LPS”) from. 1990 to 2007. One of my duties during this tne period was to
provide recommendations relating to souting software to existing and potential schoo!
district customers of Laidlaw. —

3. While employed by Laidlaw, I retained mmerovs electronic documents
and emails relating to the relationship between the parties to this lawsuit, and Laidlaw’s
actions relating to promoting Fénlog routing software and competitors’ routing software.

. [provided copies of these documents to Laidlaw before I left.
ve he ---When {suggested +hat-Leidlaeesecommend using Bdolog sonting snitxare i WAIS.....
in New Orleans rathex than the software of VersaTtans, one of Edulog’s competitors,”
Diane Omdorf, my supervisor at Laidlaw, ordered me to telephone VereaTrans’s CBO
and explain to him why I was recommending Edulog aver VersaTrans. I provided at
Jeast one email related to this incident to Laidlaw personnel.
Ideclare under penalty of pexjury that the forgoing is tme and correct.
EXECUTED in Missoula, Montana this 15th day af September, 2008.

‘ . 7 ty

N OF CRAIG GRIFFITHS IN SUPPORT OF PLAINTIEES' BRIEF IN OFFOSITION TO

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" Routing sofware firms visfopindusty ton slat The BusinessREYTY page 22 of 58 pragin $00

This Was Printed From The Business Review

Routing software firms vie for
industry top slot

_Premlium content from The Business Review - by Richard A.
D'Errico, The Business Review

Date: Monday, February 5, 2007, 12:00am EST - Last Modified:
Thursday, February 1, 2007, 10:08am EST

Related:
Technology
A battle for your chiid's bus route Is brewing.

The nation's two leading companies developing software to help school
districts map bus routes, VersaTrans Solution Inc, and Transfinder, are
located 10.31 miles apart from each other. Each dominates in its own
backyard—VersaTrans in Albany County, ‘Transfinder in Schenectady
County—but the real prizes are the 15,000 school districts nationwide.

Together, they've helped topple Education Logistics Inc, in Missoula,
Mont., from its No. 1 spot, sald Antonio Civitella, Transfinder's president
and CEO, making VersaTrans No. 1 and, possibly making Transfinder No.
2. :

"It’s very ugly," Civitella said, “It's Microsoft and_ Novell. It's Apple
against Microsoft.”

*{ would characterize it as a very competitive market,” said Bill Paul,
editor and publisher of School Transportation News, based in Redondo
Beach, Calif.

Bus-routing software helps districts determine the best and most
efficient routes to take. It can also be updated as variables change, like
when a student moves. Some software can even visualize “what if"
scenarlos,.keep track of bus maintenance schedules and track buses in
real time. Districts can spend as litte as a few thousand dollars to
hundreds of thousands of doliars on bus-transportation software.

Paul said It’s tough to say who's on top based on revenue because the
main companies are privately held, but VersaTrans. and Transfinder are
recognized leaders in the sector.

"Edulog was there first, I can't dispute that,” Paul sald. “For many years
they were among the first to do this in the mid- 1980s."

VersaTrans and Transfinder had strong years, according to their CEOs.

Transfinder closed 2006 with $3 million in revenue, up 15 percent from
2005. It added 151 new cients, for a total of 750 districts in 46 states.
The company is expanding its space in Schenectady to accommodate
growth.

VersaTrans ended 2006 with sales of $7.1 million and added 131 new : ,
clients for a total of 1,260 school districts. In 2005, it reported $5.6

million in sales, up from $5 million the previous year. The company has

had six consecutive record-breaking quarters.

Edulog, as Education Logistics is known, did not return calls seeking

comment.

The right spin
EXHIBIT

Just as Microsoft recently released Its latest operating system Vista to

stay ahead of the curve-or keep up with competition, depending on ;

your perspective—bus-routing companies keep adding to their products : 2.

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Routing sGPaware firma xiecion industry top, slat, Fhe PUSAES Osta Page 23 of 58

by Integrating Global Positioning Systems (GPS) and Geographic
Information Systems (GIS), or adding another bit of data to be factored
into routing decisions. For example, Civitella said in Washington state a
school district has used Transfinder to map around known meth labs.

VersaTrans recently touted that its software now allows users to
incorporate the known residences of sexual predators.

"Student safety Is the No. 1 concern among our dients," said Doug
Hamiin, VersaTrans president and CEO. “They need to take measures to
safequard students before they board the bus, during their bus ride and
after exiting the bus."

’ routing decisions.

Ciitella said Transfinder’s product has had the same capability for a few
years, but has not been as public about It.

“When we had it, It was never a major selling feature at the time,"
Civitella said. "Now it's become more of a selling feature. It's not who
has It first anymore. It's who can spin It better first.

"You want to choot from the hip? Let's face it. There are companies that
have great things, but if they're not spinning tt correctly, you never know
about it. Perhaps we're not spinning it correctly.”

VersaTrans and Transfinder go after the same business all the time, said
Civitella, but talk of a merger is premature, he said.

"We're both taking business out of that big one [Edulog]. We both
together-not working together but individually. No. 1 Isn't No. 1
anymore. We didn’t do it as a combined company. We did it as
individuals," Civitella said. “We had record years. It's not just one
company doing better than the other. When both companies are
thriving, that’s not the right time for merger talks.”

But School Transportation News publisher Paul said things can change
rapidly in this Industry.

"yt changes all the time,” he said. "These companies grow by leaps and:
bounds.”

rderrico@bizjournals.com | 518-640-6807

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PATRICK E. OUFFY, CLERK

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

EDUCATION LOGISTICS, INC., a CV 07-06-M-DWM — J CL

Montana corporation and LOGISTICS
MANAGEMENT, INC., a Washington

corporation,
Plaintiffs,

vs. ORDER

LAIDLAW TRANSIT, INC., a Delaware
corporation,

)
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)
Defendant. )
)

Plaintiffs Education Logistics, Inc. and Logistics Management, Inc.’s
moved to amend the case schedule and continue the trial date. A status conference
in this case was held on January 14, 2011. It appears good cause exists to amend
the case schedule. Accordingly,

IT IS HEREBY ORDERED that plaintiffs’ motion (dkt # 139) is

GRANTED. The following schedule will govern all further pretrial proceedings
EXHIBIT

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Disclosure of Plaintiff's
Damages Experts and Simultaneous
Disclosure of Liability Experts: April 15, 2011

Disclosure of Defendant’s
Damages Experts: May 13, 2011

Discovery Deadline: July 8, 2011

Motions Deadline (fully briefed): August 22, 2011

Attorney Conference to Prepare
Final Pretrial Order: week of September 31, 2011

Submit Final Pretrial Order,

Proposed Jury Instructions,

Proposed Voir Dire Questions,

and Trial Briefs electronically

to dwm_propord@mtd.uscourts.gov

(Trial Briefs are optional): November 10, 2011

Notice to Court Reporter of
Intent to Use Real-Time: November 10, 2011

Notice to I.T. Supervisor of
Intent to Use CD-ROM or
Videoconferencing: November 10, 2011

Final Pretrial Conference: November 18, 2011 at 1:30 p.m.
Missoula, Montana

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Jury Trial (7-member jury): November 28, 2011 at 8:30 a.m.'
Russell Smith Courthouse
Missoula, Montana

Continuance of the above deadlines will not be granted, absent com pelling
reasons. A continuance of any deadline set by this order does not extend any
other deadline. Neither the date set for trial nor the date set to file motions will be
altered or changed even if the Court authorizes any other date to be changed.

IT IS FURTHER ORDERED, unless otherwise stipulated, plaintiffs shall
take no more than 20 depositions, and defendants shall take no more than 20
depositions. Depositions previously taken in the case count towards the 20
deposition limit. But each party is allowed to supplement any deposition
previously taken.

IT IS FURTHER ORDERED ail other provisions of the Court's October 17,
4007 scheduling order (dkt # 25) shall remain in full force and effect.

Dated this #4 day of January 2011.

A jah C.
‘ed States Magistrate Judge

Pursuant to 18 U.S.C. § 3161(h) and Fed.R.Crim.P. 50, criminal matters take priority
over civil matters in the event of a conflict. Accordingly, all civil trial settings are subject to the
Court’s criminal calendar.

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Attorneys for Defendant Laidlaw Transit, Ine.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

MISSOULA DIVISION
EDUCATION LOGISTICS, INC., a
Montana corporation, and CV 07-06-M-DWM
LOGISTICS MANAGEMENT, INC.,
a Washington corporation, LAIDLAW TRANSIT, INC.’S
OBJECTIONS TO PLAINTIFFS’ SLSTH
Plaintiffs, SET OF INTERROGATORIES AND

REQUESTS FOR PRODUCTION

vs.

LAIDLAW TRANSIT, INC., a
Delaware corporation,

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Defendant.

TO: EDUCATION LOGISTICS, INC. and LOGISTICS MANAGEMENT, INC., and their
attorneys Ronald A. Bender, Matthew J. Cuffe, Charles P. Nomellini and Samuel T. Bull.

LAIDLAW TRANSIY INC’S OBJECTIONS TO PLAINTIFFS? SIXTH
SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION Page |
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EXHIBIT

1 AF

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OBJECTIONS TO PLAINTIFFS’ DEFINITIONS

1. Laidlaw objects to Plaintiffs’ definition of the term “Bid” to the extent it includes
“negotiated contracts between Laidlaw and customers or potential customers,” as
negotiated contracts to do not fall within the commonsense, everyday definition of the
term “Bid.”

DEFINITIONS

1. “Contract” shall mean the Agreement between Laidlaw Transit, Inc. and Logistics
Management, Inc., dated June 30, 1992, which is attached to Plaintiffs’ Complaint as
Exhibit A.

2. “Edulog” shall mean Plaintiff Education Logistics, Inc., along with all of its affiliates,
subsidiaries, current and former employees, officers, directors, board members,
managers, representatives, agents and apyone else acting on its behalf or otherwise
subject to its control.

3. “GST” shall mean GeoSpatial Technologies, Inc., along with all of its affiliates,
subsidiaries, current and former employees, officers, directors, board members,
managers, representatives, agents and anyone else acting on its behalf or otherwise
subject to its control.

4, “T sidlaw’” shall mean Defendant Laidlaw Transit, Inc., along with all of its successors in
interest, affiliates, subsidiaries, current and former employees, officers, directors, board
members, managers, representatives, agents, “Laidlaw Planning Solutions” and anyone
else acting on Laidlaw Transit Inc.’s behalf or otherwise subject to its control.

OBJECTIONS TO INTERROGATORIES
INTERROGATORY NO. 1:

Identify all customers to whom Laidlaw provided school bus transportation services from
January 11, 2003 to the present, including the name and address of the customer, the time period
during which Laidlaw provided the services, the nature of the services including whether ©
Laidlaw or any other party provided the customer with computerized bus routing software and
the number of buses provided to the customer during each year.

ANSWER:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence. As worded, this Interrogatory would require Laidlaw to identify customers
that have never used school bus routing software at all, or that have purchased, installed and
operated school bus routing software on their own with no assistance from Laidlaw. Such
information would be wholly irrelevant to the disputed issues and facts in this case.

Subject to and without waiving its objections, Laidlaw will identify all customers to
which Laidlaw provided school bus transportation services from January 11, 2003 to the present,

LAIDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFFS’ SIXTH

SET OF INTERROGATORIES AND REQUESTS FOR PRODUCTION Page 2
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provided that those customers utilize(d) some type of school bus routing software, and provided
that Laidlaw actually purchased such software on the customer’s behalf or influenced the
customer’s purchasing decision in some way. As requested, Laidlaw will also provide the name
and address of the relevant customers, the time period during which Laidlaw provided the
services, the nature of the services, and the number of buses provided to the customers during
each year, to the extent such information is within Laidlaw’s possession, custody or control.

INTERROGATORY NO. 2:

Jdentify all customers or potential customers to which Laidlaw has submitted a bid for
school bus contracting services and/or management services from January 11, 2003 to the
present including bids submitted to then-existing Laidlaw customers. For each such customer or
potential customer, list the name and address of the school district to which the bid was provided,
the name of Laidlaw’s contact at the school district, the date of the bid, whether the bid was
accepted and if the bid provided for or required the use of school bus routing software.

ANSWER:

Objections: Overly broad; not reasonably calculated to Jead to the discovery of
admissible evidence. As worded, this Interrogatory would require Laidlaw to identify bids that
did not include school bus routing software. Such information would be wholly irrelevant to the
disputed issues and facts in this case.

Subject to and without waiving its objections, Laidlaw will identify all bids issued from
January 11, 2003 to the present that included school bus routing software. As requested, Laidlaw
will also provide the name and address of the school district to which the bid was provided, the
name of Laidlaw’s contact at the school district, the date of the bid, and whether the bid was
accepted, to the extent such information is within Laidlaw’s possession, custody or control.

INTERROGATORY NO. 3:

Identify aJl Laidlaw customers to which Laidlaw or Laidlaw Planning Solutions bas
provided non-Edulog school bus routing software or to which Laidlaw or Laidlaw Planning
Solutions has assisted in purchasing a non-Edulog product since January 11, 2003. For each
such customer, provide the date of initial installation and the dates of any subsequent upgrades to

the software.
ANSWER:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence. As worded, this Interrogatory would require Laidlaw to identify customers
that Laidlaw has assisted in purchasing products other than school bus routing software. Such
information would be wholly irrelevant to the disputed issues and facts in this case. “(The dates
of any subsequent upgrades to [non-Edulog school bus routing] software” are also irrelevant to
the disputed issues and facts in this case.

Subject to and without waiving its objections, Laidlaw will identify all Laidlaw
customers to which Laidlaw or Laidlaw Planning Solutions has provided non-Edulog school bus
LAYDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFFS’ SIXTH

SET OF INTERROGATORIES AND REQUESTS FOR PRODUCT JON Page 3
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routing software since January 11, 2003, as well as the date of initial installation of such
software, to the extent such information is within Laidlaw's possession, custody or control.

INTERROGATORY NO. 4: .

Identify all current or former Laidlaw employees who participated in the negotiation,
formation, and/or drafting of any agreements between Laidlaw and GST in effect at any time
from January 11, 2003 to the present. Provide the name and title of such persons and a
description of their participation.

ANSWER:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence. As worded, this Interrogatory potentially calls within its scope agreements
that have nothing to do with school bus transportation services. Moreover, the existence of any
agreement between Laidlaw and GST is irrelevant to the disputed issues and facts in this case.

Subject to and without waiving its objection, Laidlaw will identify all current or former
Laidlaw employees who materially participated in the negotiation, formation, and/or drafting of
any agreements between Laidlaw and GST in effect at any time from January 11, 2003 to the
present, provided that such agreements relate to school bus transportation services. As
requested, Laidlaw will also provide the name and title of each such current or former employee
and a description of their participation, to the extent such information is within Laidlaw’s
possession, custody or control.

INTERROGATORY NO. 5:

Identify all agreements between Laidlaw and any provider of routing, GPS, and/or any
other boundary planning software in effect at any time from January 11, 2003 to the present.
Provide the date of the agreement, the identity of the provider and the services to be provided by
cach party to the agreement.

ANSWER:

Objection: Since the Contract specifically allows Laidlaw to enter agreements with other
providers of school bus routing software after the expiration of the exclusive license period,
Laidlaw objects to this [nterrogatory as overly broad, irrelevant, and not reasonably calculated to
lead to the discovery of admissible evidence.

Laidlaw will not respond to this Request as it is currently worded.

INTERROGATORY NO. 6:

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Describe all efforts made by Laidlaw since January 11, 2003 to promote the use of the
Software to existing and/or prospective Laidlaw customers.

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ANSWER:

Objections: Overly broad; not reasonably calculated to the Jead to the discovery of
admissible evidence; unduly burdensome and harassing; assumes issues and facts in dispute.

Laidlaw will not respond to this Interrogatory as it is currently worded.

INTERROGATORY NO. 7:

INI EAR ee

List the name, title and contact information for all persons employed by Laidlaw in a
sales capacity at any time since January 11, 2003 as a regional manager or any position
subordinate to regional manager. For all such persons no longer employed by Laidlaw, provide

their dates of employment with Laidlaw.

ANSWER:

Objections: Overly broad; ambiguous; not reasonably calculated to lead to the discovery
of admissible evidence. As worded, this Interrogatory would require Laidlaw to identify
employees who had no involvement in school bus transportation services. Such information
would be wholly irrelevant to the disputed issues and facts in this case. Laidlaw further objects
to the term “regional manager” as vague.

Subject to and without waiving its objections, Laidlaw responds as follows: There are no
“Regional Managers” employed in a sales capacity at Laidlaw. Laidlaw’s counsel is happy to
discuss a clarification of this Request with Plaintiffs’ counsel if necessary.

OBJECTIONS TO REQUESTS FOR PRODUCTION

REOUEST FOR PRODUCTION NO. 1:

All documents relating to agreements and proposed agreements between Laidlaw and
GST.

RESPONSE:

Objection: Since the Contract specifically allows Laidlaw to enter agreements with other
providers of school bus routing software after the expiration of the exclusive license period,
LaidJaw objects to this Request as overly broad, irrelevant, and not reasonably calculated to lead
to the discovery of admissible evidence. Also, as worded, this Request potentially calls within
its scope agreements and proposed agreements that have nothing to do with school bus
transportation services. This Request might also require Laidlaw to violate confidentiality
. provisions of the agreements being requested. Additionally, this Request might require Laidlaw
to disclose confidential commercial information. See FED. R. Crv. P. 45(c)\(3)(B)G). Finally,
some of the documents requested may be subject to attorney-client privilege or may be
privileged as a result of being prepared in anticipation of litigation.

Laidlaw will not respond to this Request as it is currently worded.

LADDLAW TRANSIT INC’S OBJECT {ONS TO PLAINTIFFS’ SIXTH
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REOUEST FOR PRODUCTION NO. 2:

All documents evidencing communications between Laidlaw and/or GST and any third
party which refer or relate to the provision of school bus transportation services, routing
software, and/or GPS software by Laidlaw and GST, including but not limited to
correspondence, requests for proposal, bids, feasibility studies, agreements, or contracts.

RESPONSE:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence; not reasonably \imited in time or subject matter, ambiguous. As worded,
this Request would arguably require Laidlaw to produce every single communication between
Laidlaw and each of Laidlaw’s current and former customers for an unlimited period of time.
Additionally, this Request might require Laidlaw to disclose confidential commercial
information. See FED. R. Cv. P. 45(c)(3)(B)G@).

Laidlaw is unable to respond to this Request as it is currently worded. However,
Laidlaw’s counsel is happy to discuss a clarification of this Request with Plaintiffs’ counsel.

REQUEST FOR PRODUCTION NO. 3:

All agreements entered into between Laidlaw and any provider of school bus routing
software in effect at any time from January 11, 2003 to the present.

RESPONSE:

Objection: Since the Contract specifically allows Laidlaw to enter agreements with other
providers of schoo) bus routing software after the expiration of the exclusive license period,
Laidlaw objects to this Request as overly broad, irrelevant, and not reasonably calculated to lead
to the discovery of admissible evidence. Additionally, this Request might require Laidlaw to
violate confidentiality provisions of the agreements being requested. Finally, this Request might

require Laidlaw to disclose confidential commercial information. See FED. R. Civ. P.

45(c)3 (BY).

Laidlaw will not respond to this Request as it is currently worded,

REQUEST FOR PRODUCTION NO. 4:

All documents evidencing communications between Laidlaw and any provider of school
bus routing software from January 11, 2003 to the present relating to the negotiation, formation,
implementation, and on-going maintenance of any agreement or potential agreement between
Laidlaw and the software provider.

RESPONSE:

Objection: Since the Contract specifically allows Laidlaw to enter agreements with other
providers of school bus routing software after the expiration of the exclusive license period,
Laidlaw objects to this Request as overly broad, irrelevant, and not reasonably calculated to lead

LAIDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFFS’ SIXTH
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to the discovery of admissible evidence, Additionally, this Request might require Laidlaw to
disclose confidential commercial information. See FED. R. Cv. P. 45(c)(3)(B)Q).

Laidlaw will not respond to this Request as it is currently worded.

REOUEST FOR PRODUCT TON NO. 5:

All documents that refer or relate to efforts Laidlaw has made since January 11, 2003 to
promote the use of the Software pursuant to Section 2.3.3 of the Contract.

RESPONSE:

Objections: Overly broad; not reasonably calculated to the lead to the discovery of
admissible evidence; unduly burdensome and harassing; assumes issues and facts in dispute.

Laidlaw will not respond to this Request as jt is currently worded.
REQUEST FOR PRODUCTION NO. 6:

All documents provided to Laidlaw employees for the purpose of marketing or promoting
the Software, including but not limited to scripts or sales materials, that were used in any manner
by Laidlaw at any time from January 11, 2003 to the present.

RESPONSE:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence.

Subject to and without waiving its objections, Laidlaw will produce all documents within
its possession, custody or control that are responsive to this Request-

REOUEST FOR PRODUCTION NO. 7:

All documents provided to Laidlaw employees for the purpose of marketing or promotin
Laidlaw’s services to school districts including but not limited to scripts and sales materials, that
were used by Laidlaw at any time from January 11, 2003 to the present.

RESPONSE:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence. As worded, this Request would require Laidlaw to produce marketing
and/or promotional documents that have nothing to do with school bus routing software. Such
information would be wholly irrelevant to the disputed issues and facts in this case.

Subject to and without waiving its objections, Laidlaw will produce all documents within
its possession, custody or control that were provided to Laidlaw employees for the purpose of .
marketing or promoting Laidjaw’s services to school districts, provided that such documents
were used by Laidlaw between January 11, 2003 to the present, and provided that such
documents include references to school bus routing sofware.
LAIDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFES” SIXTH

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REQUEST FOR PRODUCTION NO. 3:

AJl contracts in effect at any time between January 11, 2003 and the present between
Laidlaw and any school district for the provision of school bus transportation services.

RESPONSE:

Objections: Overly broad; unduly burdensome; not reasonably calculated to lead to the
discovery of admissible evidence. .

Laidlaw will not respond to this Request 4s it ig currently worded.

REQUEST FOR PRODUCTION NO. 9:

All documents constituting communications between Laidlaw and its school district
customers or potential customers between January 11, 2003 and the present which relate in any
way to Versatrans. —

RESPONSE:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence. Communications between Laidlaw and its school district customers and
potential customers relating to Versatrans could only conceivably be relevant to the extent they
took place during the contract pitch stage (1.2, when Laidlaw was pitching its services or
products to the customer/potential customer), and to the extent they related to school bus routing
software.

Subject to and without waiving the foregoing objections, Laidlaw will produce all bids
within its possession, custody or control that were issued to its school district customets or
potentia] customers from January 11, 2003 to the present which relate in any way to Versatrans.

REQUEST FOR PRODUCTION NO. 10:

All documents reviewed, referred to or relied upon in answering Plaintiffs’ Sixth Set of
Interrogatories and Requests for Production.

RESPONSE:

Objections: Overly broad; not reasonably calculated to lead to the discovery of
admissible evidence; unduly burdensome and harassing.

Laidlaw will not respond to this Request as it is currently worded.

LAIDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFFS’ SIXTH
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DATED this 23rd day of February, 2011.

ebraD. Parker.)

and

James D. Jordan
Devon D. Sharp

Attorneys for Defendant Laidlaw Transit, Inc.

CERTIFICATE OF SERVICE

I hereby certify that on this 23rd day of February, 2011, I delivered a true and correct
copy of the foregoing document to the following counsel of record via facsimile and electronic
mail:

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DevonD. Sharp () |

LAIDLAW TRANSIT INC’S OBJECTIONS TO PLAINTIFFS’ SIXTH

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
EDUCATION LOGISTICS, INC., a §
Montana corporation, and LOGISTICS §
MANAGEMENT, INC., a Washington §
corporation, §
§
Plaintiffs, §
§
v. § MISC. ACTION NO.
§ (Civil Action No. 07-06-M-DWM
LAIDLAW TRANSIT, INC.,a Delaware § Action pending in: District of Montana,
corporation § Missoula Division)
8
Defendant, §
§
v. §
8
TYLER TECHNOLOGIES, INC., §
§
Respondent. §

Declaration Of Hien Nguyen In Support Of Plaintiffs’ Emergency Motion To Compel

HIEN NGUYEN declares:

1. [am over the age of 18 and make this declaration based on my own personal
knowledge.

2. lam the CEO of both Education Logistics, Inc. and Logistics Management, Inc.

(collectively, “Edulog”), Plaintiffs in Education Logistics, Inc. v. Laidlaw Transit, Inc., Civil
Action No. 07-06-M-DWM, District of Montana, Missoula Division.
3. Prior to the advent of school bus routing software, school districts relied on school

bus routing managers to create school bus routes to transport students to school. Typically, this

EXHIBIT

NGUYEN DECLARATION IN SUPPORT OF PLAINTIFFS’ i B

EMERGENCY MOTION TO COMPEL - |! =

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was done by overlaying a school district map on a cork board and using push pins to identify
student addresses. Routing managers would then manually create string routes, assigning
students to specific buses.

4, The task of creating bus routes can be quite complex, because in addition to a
thorough knowledge of the map and travel patterns in the district, the router must satisfy various
school district policy constraints affecting bus routes. For example, most school districts require
that the to- and from-school travel times for each pupil not exceed a certain amount of time. In
this vein, a hypothetical Happy Valley School District might decide that the travel time for each
of its pupils must be less than sixty minutes from the moment the pupil is picked up by a school
bus to the moment that pupil arrives at school. The school bus routing manager must create
routes to insure that each child in the school district arrives at school within the prescribed time.

5. In the 1970s, working out of my basement, I developed a mathematical algorithm
and accompanying software that optimized transportation routing efficiency. Over the ensuing
decades, this algorithm has been used by school districts, and a slight variation of it by police
departments and fire departments to optimize fleet sizes, travel routes, and response times. The
public safety software that is used by police departments and fire departments is owned by a
separate company that is not a party to this lawsuit.

6. The Edulog Software is geared to school districts and is tailored to allow school
districts to reduce the costs of bussing by reducing the number of buses required to transport
students to school. Or put another way, the Edulog Software optimizes a school district’s bus
routes to enable school districts to use fewer buses to transport the students to school while

satisfying all routing constraints that may be required by the district. In the case of hypothetical

NGUYEN DECLARATION IN SUPPORT OF PLAINTIFFS’
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Happy Valley School District, by using the Edulog Software to create more efficient school bus
routes, the school district might reduce the number of buses needed to transport its students from
50 to 35 and still get the students to school in the same amount of time. This reduction generates
tremendous cost savings to the school district (15 X $40,000 = $600,000), even when taking into
account the cost of the software license. Although license fees vary, the cost of an Edulog
Software license to a 50-school bus school district is approximately $25,000.

7. Because it significantly reduced the bussing costs of school districts, Edulog was
very successful at selling licenses directly to school districts from the time of its founding in the
late 1970s through the early 1990s.

8. Following Edulog’s success through the 1980s and into the early 1990s, Laidlaw
approached Edulog and inquired about the possibility of purchasing Edulog. While Edulog
declined Laidlaw’s overtures, the parties ultimately negotiated a license agreement that allowed
Laidlaw to use the Edulog Software subject to certain conditions. One of these conditions,
contained in Section 2.3.3 of the 1992 Agreement, was the agreement that Laidlaw would “use
its best efforts to promote the use of the Software and related services” provided by Edulog to its
school district customers and to prospective clients. A copy of the 1992 Agreement is attached
to the Complaint (which is attached to the Bull Declaration filed in support of Edulog’s motion
to compel).

9. I believed that the 1992 Agreement would enable Edulog and Laidlaw to leverage
their strong market positions to expand their client bases. For Edulog, the 1992 Agreement
promised to provide it with exposure to Laidlaw’s existing and prospective customers with the

anticipated promotion by Laidlaw of its software. Laidlaw, on the other hand, would receive the

NGUYEN DECLARATION IN SUPPORT OF PLAINTIFFS’
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benefit of having a license with the industry-best optimization software that it could use to attract
new customers.

10. From 1992 to 1997, Edulog and Laidlaw had an “exclusive” license agreement.
During the period of the exclusive license, Laidlaw was barred from entering into licensing
agreements with other bus routing software developers (§ 16.1) and Edulog was not allowed to
license the Edulog Software to any other school bus contractors (§ 2.2).

Ll. Shortly after the signing of the 1992 Agreement, it became clear that Laidlaw
salespeople and junior management were not thrilled with the fees that the 1992 Agreement
required Laidlaw to pay when a school district purchased the Edulog Software. For example,
pursuant to Sections 4.2 and 4.4 of the 1992 Agreement, Laidlaw has to pay a per-bus royalty to
Edulog under certain circumstances.

12. In 1997, Laidlaw declined to renew the exclusive license and the license
converted to a non-exclusive license, paving the way for Laidlaw to enter into licensing
agreements with other software providers.

13. I believe that the communications and contracts exchanged between Laidlaw and
Versatrans will be directly relevant to whether Laidlaw has been promoting Versatrans at the
expense of Edulog. I expect these documents to show that Laidlaw was working hand-in-hand
with Versatrans to pitch Versatrans at the expense of Edulog, that Laidlaw was otherwise
actively promoting Versatrans software, and that Laidlaw was denigrating the Edulog Software.
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NGUYEN DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 4

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I declare under penalty of perjury under the laws of the State of Texas that the foregoing

is true and correct to the best of my knowledge, information, and belief.

Executed this 8th day of March, 2011, in Missoula, Montana.

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NGUYEN DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 5

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
EDUCATION LOGISTICS. INC..a §
Montana corporation, and LOGISTICS §
MANAGEMENT. INC.. a Washington 8
corporation. §
§
Plaintiffs. §
§
Vv. § MISC. ACTION NO.
§ (Civil Action No. 07-06-M-DWM
LAIDLAW TRANSIT. INC..a Delaware § Action pending in: District of Montana.
Corporation § Missoula Division)
§
Defendant. §
§
Vv. §
§
TYLER TECHNOLOGIES. INC.. §
§
Respondent. §

Declaration Of Bill Swendsen In Support Of Plaintiffs’ Emergency Motion To Compel

BILL SWENDSEN declares:

1. 1 am over the age of 18 and make this declaration based on my own personal
knowledge.
2. I am currently employed by Plaintiff Education Logistics, Inc. (“Edulog”) as

Senior Account Manager.

3. Prior to working at Edulog, I was employed by Laidlaw for approximately
15 years in various positions.

4. I was hired by Laidlaw in August of 1991 to be the Branch Manager at the
Hudson, Wisconsin Laidlaw operation. I was responsible for everything at that Branch. These

duties included but were not limited to: routing of the buses, developing and maintaining the

EXHIBIT

SWENDSEN DECLARATION IN SUPPORT OF PLAINTIFFS’
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budget for Hudson, employee relations, hiring bus drivers, working with the district in managing
the contract, and other related duties.

5. T was promoted to a new position as Branch Manager in Bartonville, Illinois in
February 1992. This was a two terminal operation serving approximately 15 school districts just
outside of Peoria, Illinois. While at this location, I was the manager of one of the first locations
at which Laidlaw took advantage of the 1992 Edulog/Laidlaw Agreement by installing Edulog’s
routing software at both of the Laidlaw terminals. I was responsible for all activities in
Bartonville, the same as Hudson, but with over 90 buses. In approximately November of 1993, I
was promoted to Area Manager for Central Illinois. In that position I was responsible for about
2 Laidlaw branches in that area. I was responsible for all aspects of the 12 branches.

6. In December of 1994 I was promoted to General Manager of the Laidlaw
Computerized Routing Division (““LCRD”), located in Missoula, Montana. At the time LCRD
rented space in the current Edulog building. As General Manager I was responsible for
managing the group of about 15 employees in this division. I was also responsible for managing
the 1992 Laidlaw/Edulog Agreement, working closely with the then President of Edulog,

Clint Rooley and CEO, Dr. Nguyen. I reported to the Laidlaw’s Director of Strategic Planning,
Diane Dennis-Finley, who was located in the corporate offices in Burlington, ON, Canada.
Diane reported directly to the President of Laidlaw, John Grainger.

7. The LCRD group was responsible for al] computer routing for Laidlaw, both at
current sites and for new school districts. As part of my duties in managing the
1992 Laidlaw/Edulog Agreement, I was responsible for implementing the agreement and for the

payment of fees and royalties that were due to Edulog.

SWENDSEN DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 2

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8. Private bus contractors like Laidlaw contract with school districts to provide
various bussing services. In many cases, Laidlaw will contract with a school district to provide
the full scope of the school district’s bussing needs, providing school buses, bus drivers, and
coordinating the transportation of all of a school district’s students to and from school. In other
cases, Laidlaw will sign a more limited management contract in which it helps manage a school
district’s fleet.

9. Generally, the cost of bussing students to school is directly related to the number
of school buses that a school district uses to transport its students. The more buses a school
district uses to transport its students, the more the school district will pay in transportation costs.
For example, a private bus contractor often bases its contracts with school districts on a per-bus
fee. The fee is typically around $40,000 per bus, though it varies according to the unique
attributes and needs of each school district. Because of this, school districts have an incentive to
create efficient routes to minimize the number of school buses they rely upon to transport their
students to school.

10. While Laidlaw’s contracts with school districts vary, in many instances, the
amount that Laidlaw receives under a contract is directly related to the number of school buses
that a school district operates. In these circumstances, the more school buses that a school
district uses, the more money Laidlaw is paid.

11. While I was at Laidlaw, Laidlaw sales personnel frequently had a counter-
incentive to avoid use of the Edulog Software, lest the royalty fees and other fees that might be

due under the 1992 Laidlaw/Edulog Agreement cut into their own bottom lines.

SWENDSEN DECLARATION IN SUPPORT OF PLAINTIFFS’
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12. In 1997, Laidlaw declined to renew the exclusive license and the license

converted to a non-exclusive license, paving the way for Laidlaw to enter into licensing

agreements with other software providers. Since 1997, Laidlaw has entered into licensing

agreements with several other school bus routing software developers, including Versatrans,

GeoSpatial Technologies, and others.

13,  Edulog expects that the communications and contracts exchanged between

Laidlaw and Versatrans are directly relevant to whether Laidlaw has been promoting Versatrans

at the expense of Edulog. Edulog expects these documents to show that Laidlaw was working

hand-in-hand with Versatrans to pitch Versatrans at the expense of Edulog, that Laidlaw was

otherwise actively promoting Versatrans software, and that Laidlaw was denigrating the Edulog

Software. I am personally aware that after the end of the exclusive period of the

1992 Laidlaw/Edulog Agreement, Laidlaw purchased a substantial number of Versatrans

licenses and encouraged several school districts to use Versatrans instead of the Edulog

Software.

I declare under penalty of perjury under the laws of the State of Texas that the foregoing

is true and correct to the best of my knowledge, information, and belief.

Executed this 8th day of March, 2011, in Missoula, Montana.

Bill Swendsen

SWENDSEN DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL - 4

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

TYLER TECHNOLOGIES, INC.,

EDUCATION LOGISTICS, INC., a §
Montana corporation, and LOGISTICS §
MANAGEMENT, INC., a Washington §
corporation, §
§
Plaintiffs, §
§
v. § MISC. ACTION NO. _
§ (Civil Action No. 07-06-M-DWM
LAIDLAW TRANSIT, INC.,a Delaware § Action pending in: District of Montana,
corporation § Missoula Division)
§
Defendant, §
§
v. §
§
§
§
§

Respondent.

Declaration Of Alan C. Hess In Support Of Plaintiffs’ Emergency Motion To Compel

ALAN C. HESS, Ph. D. declares:

l. I am over the age of 18 and make this declaration based on my own personal
knowledge.
2. I am a Professor of Finance and Business Economics in the Michael G. Foster

School of Business at the University of Washington, and an Academic Affiliate of Finance
Scholars Group. I hold M.S. and Ph.D. degrees in economics from Carnegie Mellon University
and a B.S. in industrial management from Purdue University. I have served in the Federal
Reserve System and the Securities and Exchange Commission. My academic and consulting

interests encompass both econonmics and finance. EXHIBIT

HESS DECLARATION IN SUPPORT OF PLAINTIFFS’
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3. I have been engaged by Plaintiffs Education Logistics, Inc. and Logistics
Management, Inc. (collectively, “Edulog”) in the a lawsuit pending in the U.S. District Court for
the District of Montana captioned Education Logistics, Inc. v. Laidlaw Transit, Inc., Cause No.
CV02-183 (the “Montana Action”). In the Montana Action, Edulog has engaged me to estimate
the damages it has suffered from Laidlaw’s alleged failure to promote Edulog’s school bus
routing software (““Edulog Software”),

4. Based on the expectations theory of damages,' Edulog’s damages from Laidlaw’s
breach of contract is the difference between what Edulog’s profits would have been absent the
breach less what they actually were with the breach. In order to calculate these damages, I
intend to create a model that analyzes the school bus routing software market over time, and that
looks at the effect that Laidlaw’s promotion or lack thereof has had on the sales of the Edulog
Software and competing software. In creating this model, | intend to review three distinct time
periods for the school bus routing software market: (1) pre-1992 Edulog/Laidlaw Agreement;

(2) the period in which the Edulog/Laidlaw license was “exclusive” (1992-1997); and (3) post-
exclusivity (1997 to present).

5. In order to assist in the construction of this markct analysis, I asked Edulog to
compile the specific data requested in Edulog’s subpoena to Tyler and other bus routing software
developers. | tried to gather this information independently, but could not identify any source for

school bus routing software data generally, or for company-specific data. If I do not receive the

' John H. Barton, 1972, “The Economic Basis of Damages for Breach of Contract,” 7. of Legal
Studies V. 1, No. 1, pp. 277-304. Victoria A. Lazear, 2001, “Estimating Lost Profits and
Economic Losses,” in Roman L. Weil, Michael J. Wagner, and Peter B. Frank, Litigation
Services Handbook: The Role of the Financial Expert, (3" ed. ) New York, John Wiley & Sons.

HESS DECLARATION IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION TO COMPEL -~2
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data requested, it will be extremely difficult for me to perform a market analysis to determine the
effects that Laidlaw’s promotion or non-promotion has had on Edulog’s marketshare and profits.

I declare under penalty of perjury under the laws of the State of Texas that the foregoing
is true and correct to the best of my knowledge, information, and belief.

Executed this 8th day of March, 2011, in Seattle, Washington.

Llen C. Hage

Alan C. Hess, Ph. D.

HESS DECLARATION IN SUPPORT OF PLAINTIFFS’

EMERGENCY MOTION TO COMPEL - 3
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Case 3:11-mc-00036-L Document 8-4 Filed 03/17/11 Page 48o0f58 PagelD 516

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

EDUCATION LOGISTICS, INC., a
Montana corporation, and LOGISTICS
MANAGEMENT, INC., a Washington
corporation,

Plaintiffs,

MISC. ACTION NO.

(Civil Action No. 07-06-M-DWM
Action pending in: District of Montana,
Missoula Division)

Vv.

LAIDLAW TRANSIT, INC., a Delaware
corporation

Defendant,
¥v.

TYLER TECHNOLOGIES, INC.,

Respondent.

Supplemental Declaration Of Hien Nguyen In Support Of Plaintiffs’ Emergency Motion To

Compel
HIEN NGUYEN declares:
1. [am over the age of 18 and make this declaration based on my own personal
knowledge.
2. I am the CEO of both Education Logistics, Inc. and Logistics Management, Inc.

(collectively, “Edulog”’), Plaintiffs in Education Logistics, Inc. v. Laidlaw Transit, Inc., Civil
Action No. 07-06-M-DWM, District of Montana, Missoula Division. Iam submitting this

declaration to supplement my previously submitted testimony. EXHIBIT

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SUPPLEMENTAL NGUYEN DECLARATION IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - |

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Case 3:11-mc-00036-L Document 8-4 Filed 03/17/11 Page 49 of58 PagelD 517

3. It is my understanding that Tyler Technologies, Inc. (“Tyler”) has agreed to
produce responses to Requests for Proposals for routing software from Laidlaw/First Student, but
has stated that it will not produce responses to Requests for Proposals for routing software from
school districts themselves.

4, Practically speaking, Requests for Proposal almost always are issued by the
school districts and not the private bus contractors who provide bussing for the school districts.
Because of this, Tyler’s proposed compromise would not be effective for the purpose of
providing our expert witness with any significant number of Requests for Proposal responses
from Tyler to school districts.

I declare under penalty of perjury under the laws of the State of Texas that the foregoing
is true and correct to the best of my knowledge, information, and belief.

Executed this 15th day of March, 2011, in Missoula, Montana.

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SUPPLEMENTAL NGUYEN DECLARATION IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - 2
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

EDUCATION LOGISTICS, INC., a
Montana corporation, and LOGISTICS
MANAGEMENT, INC., a Washington
corporation,

Plaintiffs,

MISC, ACTION NO.

(Civil Action No. 07-06-M-DWM
Action pending in: District of Montana,
Missoula Division)

Vv.

LAIDLAW TRANSIT, INC., a Delaware
corporation

Defendant,
vy.

TYLER TECHNOLOGIES, INC.,

LID MIS LPAI ALS LY AS LYS ALA LPS KIS APS MV LE LP) LPN APY IY LP

Respondent.

Supplemental Declaration Of Alan C. Hess In Support Of Plaintiffs’ Emergency Motion To

Compel
ALAN C. HESS, Ph. D. declares:
1. Tam over the age of 18 and make this declaration based on my own personal
knowledge.
2. I am a Professor of Finance and Business Economics in the Michael G. Foster

School of Business at the University of Washington, and an Academic Affiliate of Finance
Scholars Group. I hold M.S. and Ph.D. degrees in economics from Carnegie Mellon University
and a B.S. in industrial management from Purdue University. I have served in the Federal
Reserve System and the Securities and Exchange Commission. My academic and consulting
interests encompass both econonmics and finance.

SUPPLEMENTAL HESS DECLARATION IN SUPPORT OF EXHIBIT

PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - 1 k E
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3. I have been engaged by Plaintiffs Education Logistics, Inc. and Logistics
Management, Inc. (collectively, “Edulog”) in the a lawsuit pending in the U.S. District Court for
the District of Montana captioned Education Logistics, Inc. v. Laidlaw Transit, dnc., Cause No.
CV02-183 (the “Montana Action”), In the Montana Action, Edulog has engaged me to estimate
the damages it has suffered from Laidlaw’s alleged failure to promote Edulog’s school bus
routing software (“Edulog Software”).

4. The procedures | intend to use in this matter are widely used and accepted. I base
my analysis on the expectations theory of damages,' which to an economist means that Edulog’s
damages from Laidlaw’s alleged breach of contract is the difference between what Edulog’s
profits would have been absent the breach less what they actually were with the breach. The area
of economics and statistics that is called econometrics presents procedures to test whether an
established historical relationship has been changed by an intervening effect.’ I have used these
procedures in prior engagements including inter alia: the Reinell matter in which [ presented a
lost profits analysis in federal court; the effect of the N isqually earthquake on Masin’s sales and
profits; the Strobe Data v. Digital equipment matter in which I presented a lost profits analysis in
federal court; in the Oral Logic matter in which | testified in superior court; and in the
CipherTrust y. IronPort matter.

5. The empirical procedures that | will use in this matter involve estimating the

relationships among Edulog’s sales versus sales of Edulog’s competitors, Edulog’s sales efforts

John H, Barton, 1972, “The Economic Basis of Damages for Breach of Contract,” J. of Legal
Studies V. 1, No. 1, pp. 277-304. Victoria A. Lazear, 2001, “Estimating Lost Profits and
Economic Losses,” in Roman L. Weil, Michael J. Wagner, and Peter B. Frank, Litigation
Services Handbook: The Role of the Financial Expert, (3° ed.) New York, John Wiley & Sons.

* William H. Greene, Econometric Analysis, (5" ed.) Upper Saddle River, NJ, Prentice-Hall,
chapter 7.

SUPPLEMENTAL HESS DECLARATION IN SUPPORT OF
PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - 2

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and the sales efforts of its competitors, and Edulog’s prices relative to the prices of its
competitors. I do this for three sequential periods of time: (1) pre-1992 Edulog/Laidlaw
Agreement; (2) the period in which the Edulog/Laidlaw license was “exclusive” (1992-1997);
and (3) post-exclusivity (1997 to present)

6. First, my analysis of the data for the years 1987 to 1992 will create a base period
for Edulog’s sales that can be used as a benchmark to project what Edulog’s sales would have
been absent its contract with Laidlaw. Second, I add data for the years from 1992 to 1997 and
test whether the relationships between Edulog’s sales and those of its competitors changed from
the base period. If Laidlaw actively promoted Edulog’s software, Edulog’s sales should be
higher than they would have been absent the promotion. If Edulog’s sales in the promotion
period were not higher, this can be interpreted as evidence that Laidlaw did not actively promote
Edulog’s products. The difference between Edulog’s actual sales in the second period less what
they would have been based on the relationships that prevailed in the base period is a direct input
into my estmate of Edulog’s damages. Third, I add data from 1998 to the present to see if the
relationships between Edulog’s sales and those of its competitors changed after Edulog’s joint
exclusivity contract with Laidlaw as terminated. If Laidlaw had been promoting Edulog’s sales,
after the promotion stopped Eduulog’s sales should have decreased. If they did not, this is
consistent with the view that Laidlaw did not promote Edulog’s products.

7. Asa check on my analysis, I will repeat it for each of Edulog’s competitors.
Doing so indicates which competitors gained market share and whether their market share gains

were at the expense of Edulog.

SUPPLEMENTAL HESS DECLARATION IN SUPPORT OF 209
PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - 3

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8. In order to assist in the construction of this market analysis, ] asked Edulog to
compile the specific data requested in Edulog’s subpoena to Tyler and other bus routing software
developers. | tried to gather this information independently, but could not identify any source for
school bus routing software data generally, or for company-specific data. If I do not receive the
data requested, it will be difficult for me to perform a market analysis to determine the effects
that Laidlaw’s promotion or non-promotion has had on Edulog’s marketshare and profits.

9. In particular, I request data on Edulog’s competitors’ quantities of sales each year,
on the prices each of them charged for their products that competed with Edulog, and on the
amounts of money they spent on promoting their products. Based on my past experiences in
using these types of data, the sales and promotion data can be found from the companies’
monthly and annual financial reports and the price data can be found from the companies’
responses to school districts’ RFPs.

I declare under penalty of perjury under the laws of the State of Texas that the foregoing
is true and correct to the best of my knowledge, information, and belief.

Executed this 16th day of March, 2011, in Seattle, Washington.

Maun Ll. Aoae

Alan C. Hess, Ph. D.

SUPPLEMENTAL HESS DECLARATION IN SUPPORT OF

PLAINTIFFS’ EMERGENCY MOTION TO COMPEL - 4 a0

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

EDUCATION LOGISTICS, INC., §
ET AL., §
§
Plaintiffs, §
§

v. § NO. 3-11-MC-036-L-BD
§
LAIDLAW TRANSIT, INC., §
§
Defendant. §
§
v. §
§
TYLER TECHNOLOGIES, INC. §
§
Respondent, §
§

DECLARATION OF JAMES GUZEWICH
1. My name is James E Guzewich. I am the President of Tyler Technologies, Inc

(“Tyler”) VersaTrans Division. I am over the age of twenty-one, and I am competent and
authorized to make this Declaration. Except as otherwise indicated in this Declaration, I have
personal knowledge of the facts set forth in this Declaration, and they are true and correct.

2. Tyler acquired VersaTrans Solutions, Inc. (“VersaTrans”) in 2008. VersaTrans
competes directly with Education Logistics, Inc. (“Edulog”) in the bus routing software market.

3. I am familiar with the manner in which Tyler and VersaTrans maintain their
business, commercial and/or financial documents and information. It is the policy and practice
of Tyler and VersaTrans to maintain certain business, commercial and/or financial documents

and information as confidential.

EXHIBIT

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DECLARATION OF JAMES GUZEWICH - Page 1
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4, On our around February 18, 2011, Edulog served a Subpoena on Tyler (the
“Subpoena”). I have read the Subpoena and the document requests that are contained therein. A
copy of the Subpoena is attached as Exhibit A-8 to Plaintiff's Emergency Motion to Compel
Document Production in the captioned matter.

5. In the Subpoena, Edulog seeks, among others, the following documents:

a. All documents reflecting the number of requests for proposals that
VersaTrans received from school districts or school bus contractors (such
as Laidlaw) in each year from 2003 to present.

b. All documents reflecting the number of requests for proposals received
from school districts or school bus contractors (such as Laidlaw) to which
VersaTrans responded in each year from 2003 to present.

Cc. All VersaTrans responses to requests for proposals received from school
districts or school bus contractors (such as Laidlaw) from 2003 to present.

d. All documents reflecting revenue received by VersaTrans relating to the
sale of routing software from initial sales to school districts in each year
since 1987, or since VersaTrans’s inception, if VersaTrans was not then in
business.

e. All documents reflecting revenue received by VersaTrans from annual
licensing and/or maintenance fees relating to routing software from each
school district in each year since 1987, or since VersaTrans’s inception, if

VersaTrans was not then in business.

DECLARATION OF JAMES GUZEWICH - Page 2
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f. All documents reflecting VersaTrans’s aggregate sales of routing software
in each year since 1987, or since VersaTrans’s inception, if VersaTrans
was not then in business.

g. All documents reflecting the number of salespeople in VersaTrans’s sales
force in each year since 1987, or since VersaTrans’s inception, if
VersaTrans was not then in business.

h. All documents reflecting VersaTrans’s market and sales promotion budget
in each year since 1987, or since VersaTrans’s inception, if VersaTrans
was not then in business.

i. All documents reflecting the number of sales calls made by VersaTrans on
school districts in each year since 1987, or since VersaTrans’s inception, if
VersaTrans was not then in business.

6. Based on my knowledge and experience, Tyler and VersaTrans do not voluntarily
disclose, in the business context or otherwise, any of the foregoing documents and information.
Prior to and since VersaTrans’ merger with Tyler, the Albany Business Journal published a
survey of annual revenues that included general revenue numbers of VersaTrans. Indeed, other
than the aforementioned disclosure, Tyler and VersaTrans have maintained and continue to
maintain all of the foregoing business, commercial and/or financial documents and information
as confidential, and the above documents and information are not generally known outside of
Tyler’s and VersaTrans’ businesses. Tyler and VersaTrans have policies in place to prevent the
dissemination of such documents and/or information, and to otherwise protect the confidentiality

of these documents and information.

DECLARATION OF JAMES GUZEWICH - Page 3

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7. If Tyler and/or VersaTrans disclosed the foregoing documents and information to
competitors of Tyler and/or VersaTrans, such competitors would have a business advantage over
Tyler and VersaTrans. Additionally, Tyler and VersaTrans would suffer severe harm if any of
the foregoing documents or information were disclosed to a competitor of Tyler and/or
VersaTrans, and any such disclosure to a competitor would damage Tyler’s and VersaTrans’
ability to compete.

8. Disclosure of documents and information reflecting the number of requests for
proposals received from school districts or school bus contractors to which VersaTrans
responded, and documents reflecting VersaTrans’ responses to requests for proposals that were
received from school districts or school bus contractors, would provide competitors with a
business advantage over Tyler and VersaTrans because such documents contain information
about the manner in which Tyler and VersaTrans price their software and services, the manner in
which services are performed and the competitive advantages Tyler and VersaTrans enumerate
to prospective clients. Disclosure of these documents and information would not only reveal
Tyler’s and VersaTrans’ clients and client targets—-which Tyler and VersaTrans maintain as
confidential—but would also reveal Tyler’s and VersaTrans’ strategies in obtaining new clients.
The information that Tyler and VersaTrans include in requests for proposal responses have been
developed through extensive time, labor and money, and this information could be
misappropriated in competition with Tyler and VersaTrans. Thus, disclosure of this information
would damage Tyler’s and VersaTrans’ ability to compete.

9. Disclosure of documents and information reflecting VersaTrans’ sales of routing
software and reflecting revenues, other than the aforementioned disclosure, received by

VersaTrans—whether from the sale of routing software or from annual license fees and/or

DECLARATION OF JAMES GUZEWICH - Page 4

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maintenance fees relating to routing software—would provide competitors with a business
advantage over Tyler and VersaTrans because such documents would provide confidential
information regarding current, former and prospective customers and the financial strengths and
weaknesses of Tyler and VersaTrans’ business. The information contained in these documents
have been developed through extensive time, labor and money, and this information could be
misappropriated in competition with Tyler and VersaTrans. Thus, disclosure of this information
would damage Tyler’s ability to compete.
10. Disclosure of documents and information reflecting the number of salespeople in
VersaTrans’ sales force, reflecting VersaTrans’ market and sales promotion budget, and
reflecting the number of sales calls made by VersaTrans would provide competitors with a
business advantage over Tyler and VersaTrans because such documents would detail marketing
and sales strategies, methodologies and the strengths, weaknesses and challenges not currently
known to Tyler and VersaTrans competitors. The information contained in these documents
have been developed through extensive time, labor and money, and this information could be
misappropriated in competition with Tyler and VersaTrans. Thus, disclosure of this information
would damage Tyler’s ability to compete.
I declare under penalty of perjury that the foregoing is true and correct.
Executed on this 17th day March 2011.

y GUZEWCH ~*~

DECLARATION OF JAMES GUZEWICH - Page 5

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